                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DMSION
                                  No. 7:17~CR-35-D
                                  No .. 7:19-CV-150-D


UNITED STATES OF AMERICA                       )
                                               )
                                               )
                   v.                          )              ·ORDER
                                               )
MITCHELL RAY LOCKLEAR,                         )
                                               )
                           Defendant.          )


        On June 4, 2019, Mitchell Ray Locklear ("Locklear'' or ''petitioner'') moved pro se under 28

U.S.C. § 2255 to vacate, set aside, or correct his 180-monthsentence [D.E. 561]. On November 23,

2020, Locklear moved pro se for compassionate release under the First Step Act ("First Step Act"),

Pub. L. No. 115-391, § 603(b), 132 Stat. 5194, 5238-41 (2018) (codified as amended at 18 U.S.C.

§ 3582) and filed exhibits in support [D.E. 669, 676, 680, 681]. On December 23, 2020, Locklear,

through counsel, filed a memorandum and exhibits in support [D.E. 684, 685]. On January 6, 2021,

the government responded in opposition [D.E. 689]. On January 20, 2021, Locklear replied [D.E.

699]. As explained below, the court denies Locklear's motion for compassionate release and

dismisses Locklear' s section 2255 motion.

                                                   I.

       Locklear was a major drug traffi.cker in North Carolina. From 2002 until March 16, 2017,

Locklear was responsible for distributing at least 7,23 73 kilograms of marijuana and 77 kilograms

of cocaine. See Presentence Investigation Report [D.E. 34]        ,r 80.   As part of Locklear's drug

traffi.cking, Locklear possessed multiple firearms, including several assault rifles with high-cap,acity




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   magazines. See id. Locklear also was the l~ader of a criminal activity that involved five or more

   participants. See id.

          On August 21,.2017, pursuant to a written plea agreement, Locklear pleaded guilty to

   conspiracy to distribute and possess with intent to distribute cocaine, cocaine base (crack), and

   marijuana. See [D.E. 18,203,207,416]. On February 7, 2018, the courtheldLocklear's sentencing

   hearing and adopted the facts set forth in the Presentence Investigation Report (''PSR"). See [D.E.

   3S2, 366, 367, 417]; Fed. R. Crim. P. 32(i)(3)(A}-(B). The court1calculated Locklear' s total offense
                                         I                              .

   level to be 37, his crimjnal history category to be I, and his advisory guideline range to be 210 to 262

   months' imprisonment. See [D.E. 367] 1; [D.E. 417] S. After granting the government's downward

   departure motion and thoroughly considering all relevant factors under 18 U.S.C. § 35S3(a), the

   court sentenced Locklear to 180 months' imprisonment. See [D.E. 366] 2; [D.E. 417] 6--17. The

- court also announced that even ifit miscalculated the advisory guideline range, then it would impose

  the same sentence as an alternative variant sentence. See [D.E. 417] 18. Locklear appealed. See
                                                                            '              ~
   [D.E. 386]. On December 20, 2018, the United States Court of Appeals for the Fourth Circuit

   enforced the appellate waiver in Locklear' s plea agreement and dismissed Locklear' s appeal. See

   [D.E. S33, S34].

                                                     II.

                                                     A.
          Locklear failed to re-file his section 225S motion on the appropriate form as directed by the

  court. Cf. [D.E. 6S9]. Locklear also failed to,show cause as to why the motion should not be

  ~smissed for failure to prosecute. Cf. [D.E. 66S]. Thus, the court dismisses Locklear' s section22S S

  motion for failure to comply with court orders.

          After reviewing the claims presented in Locklear' s IIJ.Otion, the court finds that reasonable

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    jurists would not find the court's treatment of Locklear' s claims debatable or wrong and that the

    claims do not deserve encouragement to proceed any further. Accordingly, the court denies a
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    certificate of appealability. See 28 U.S.C. § 2253(c); Miller-El v. Cockrell, 537 U.S. 322, 336--38

    (2003); Slack v. McDaniel, 529 U.S. 473, 484 (2000).

                                                     B.
           On December 21, 2018, the First Step Act went into effect. See First Step Act, 132 Stat. at

    5249. Before the First Step Act, only the Director of the Bureau of Prisons ("BOP") could file       a
    motion for compassionate release. Under the First Step Act, a sentencing court may modify a

    sentence of imprisonment either upon a motion of the Director of the BOP "or upon motion of the

    defendant after the defendant has fully exhausted all administrative rights to appeal a failme of the

    [BOP] to bring a motion on the defendant's behalf or the lapse of 30 days from the receipt of such

    a request by the warden ofthe defendant's facility, whichever is earlier." 18 U.S.C. § 3582(c)(1 )(A).

           After a defendant meets the exhaustion requirement, a defendant must (1) demonstrate

    "extraordinary and compelling reasons" for a sentence reduction, or (2) be at least 70 years old, have

    served at least 30 years in prison, and have the Director of the BOP determine that the defendant is

    not a danger to the safety of another person or the community. Id. In deciding to reduce a sentence

    undersection3582(c)(l)(A),acourtmustconsultthe sentencing factors in 18 U.S.C. § 3553(a) and

    must ensure that a sentence reduction is "consistent with applicable policy statements" ofthe United

    States Sentencing Commission (the "Commission"). Id.

           The Commission policy statements include U.S.S.G. § lBl.13. Section lBl.13 essentially

    parrots section 3582(c)(l)(A)'s requirements and adds that the defendant not be "a danger to the

    safety of any other person or to the community." U.S.S.G. § lBl.13(2). Section 1Bl.13's

    application notes provide examples ofextraordinary and compelling reasons, including: (A) serious

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medical conditions ofthe defendant, (B) advanced age ofthe defendant when coupled with a serious

deterioration in physical and mental health due to aging and having served at least 10 years or 75%

of his or her imprisonment term (whichever is less), (C) family circumstances, or (D) another

extraordinary and compelling reason. See U.S.S.G. § 1B1.13 cmt. n.1. 1 Application note 2 states


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           Application note 1 to U.S.S.G. § lBl.13 states in full:

       1.      Extraordinary and Compelling Reasons.-Provided the defendant meets the
               requirements of subdivision (2), extraordinary and compelling reasons exist
               under any of the circumstances set forth below:

               (A) Medical Condition of the Defendant.-

                       (i) The defendant is suffering from a terminal illness (i.e., a serious and
                           advanced illness with an end oflife trajectory). A specific prognosis
                           of life expectancy (i.e., a probability of death within a specific time
                           period) is not required. Examples include metastatic solid-tumor
                           cancer, amyotrophic lateral sclerosis (ALS), end-stage organ
                           disease, and advanced dementia.

                      (ii) The defendant is-

                             Q) suffering from a serious physical or medical condition,

                             (II) suffering from a serious functional or cognitive impairment,
                                  or

                            (Ill) experiencing deteriorating physical or mental health because
                                  of the aging process, ·

                            that substantially djmjni~hes the ability of the defendant to
                            provide self-care within the environment ofa correctional facility
                            and from which he or she is not expected to recover.

                 (B) Age of the Defendant.-The defendant (i) is at least 65 years old; (ii)
                      is experiencing a serious deterioration in physical or mental health
                      because ofthe aging process; and (iii) has served at least 10 years or 75
                      percent of his or her term of imprisonment, whichever is less.

                 (C) Family Circumstances.- ·


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 that "an. extraordinary and compelling reason need not have been unforeseen at the time of

 sentencingtowarrantareducti.oninthetermofimprisonment." U.S.S.G. § lBl.13 cmt.n.2. Thus,

 the fact ''that an extraordinary and compelling reason reasonably could have been k;nown or

 anticipated by the sentencing court does not preclude consideration for a reduction under this policy

 statement." Id. Application note 3 states, "[p]ursuant to 28 U.S.C. § 994(t), rehabilitation of the

 defendant is not, by itself, an extraordinary and compelling reason for purposes of this policy
                                                                                          I




 statement." U.S.S.G. § 1B1.13 cmt. n.3.

        The Commission has lacked a quorum since Congress enacted the First Step Act and has not

 updated U.S.S.G. § 1B1.13 to account for the First Step Act. Accordingly, section 1B1.13 does not

 provide a policy where an inmate files a motion for a sentence reduction under 18 U.S.C. §

 3582(c)(l)(A). See,~ United States v. High, 997 F.3d 181, 186 (4th Cir. 2021); United S~tes

 v. Kibble, 992 F.3d 326, 330--31 (4th Cir. 2021), petition for cert. fil~ (U.S. Sept. 8, 2021) (No.

 21-5624); UnitedStatesv.McCoy.981 F.3d271,280--84(4thCir.2020). Rather, "[section] 1B1.13

 only applies when a request for compassionate release is made upon motion of the Director of the

 [BOP]." Kibble, 992 F.3d at 330--31. Nevertheless, section lBl.13 provides informative policy




                     (i) The death or incapacitation ofthe caregiver ofthe defendant's minor             )
                         child or minor children.

                   . (ii) The incapacitation of the defendant's spouse or registered partner
                          wh~ the defendant would be the only available caregiver for the
                          spouse or registered partner.

                (D) Other Reasons.-As determined by the Director of the Bureau of
                    Prisons, there exists in the defendant's case an extraordinary and
                    compelling reason other than, or in combination with, the reasons
                    described in subdivisions (A) through (C).

U.S'.S.G. ,§ 1B1.13 cmt. n.1.

                                                  s
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when assessing an inmate's motion, but a court independently determines whether "extraordinary

and compelling reasons" warrant a sentence reduction under 18 U.S.C. § 3582(c)(1 )(A)(i). See High,

997 F.3d at 186; McCoy, 981 F.3d at 284. In doing so, the court consults not only U.S.S.G. §

lBl.13, but also.the text of 18 U.S.C. § 3582(c)(l)(A) and the section 3553(a) factors. See,~

McCoy. 981 F .3d at 280-84; United States v. Jones, 980 F .3d 1098, 1101--03 (6th Cir. 2020); United

States v. Gunn, 980 F .3d 1178, 1180-81 (7th Cir. 2020); United States v. Ruffin 978 F .3d 1000,

1007--08 (6th Cir. 2020); United States v. Brooker, 976 F.3d 228, 237-38 (2d Cir. 2020); United

Statesv. Clark,No.1:09cr336-l,2020 WL 1874140,at*2(M.D.N.C.Apr.15,2020)(unpublished).

       On August 7, 2020, Locklear submitted a compassionate release request but received no

response. -See [D.E. 685] 4; [D.E. 685-1] 1. On September 14, 2020, Locklear submitted another

request, which the warden denied on October 2, 2020. See [D.E. 685] 4; [D.E. 685-1] 1-4. On

October 13, 2020, Locklear submitted an appeal or another request for release, but received no

response. See [D.E. 685] 4; [D.E. 685-1] 5. The government has not invoked section 3582's

exhaustion requirement. See [D.E. 689] 2; United States v. Alam, 960 F.3d 831, 833-34 (6th Cir.

2020).2 Accordingly, the court addresses Locklear's claim on the merits.

       Locklear seeks compassionate release pursuant to section 3582(c)(1 )(A). In support of his

request, Locklear cites the COVID-19 pandemic, his age (59), and his diabetes, hypertension,

obesity, duodenitis, gastritis, acid reflux, knee problems, and back pain. See [D.E. 669] 4; [D.E.

669-1] 5-44; [D.E. 682]; [D.E. 685] 11-15; [D.E. 699] 3. Locklear also cites the conditions at FCI

Jesup, his rehabilitation efforts, his release plan, and that he has served over 29% of his sentence.


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           · The
               Fourth Circuit has not addressed whether section 3 582' s exhaustion requirement is a
jurisdictional or claims-processing requirement. The court assumes without deciding that the
requirement is a claims-processing rule, and that the government must ''properly invoke" the rule
for this court to enforce it. See A 1am, 960 F .3d at 833-34.

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See [D.E. 669] 2-3, 5--6, 8-9; [D.E. 669-1] 3-4; [D.E. 685] 8-10, 16, 18-19; [D.E. 685-3]; [D.E.

685-4]; [D.E. 685-5]; [D.E. 699] 2, 4.

       As for the medical condition ofthe defendant policy statement, the policy statement requires

that the defendant is "suffering from a serious physical or medical condition ... from which he or

she is not expected to recover." U.S.S.G. § lBl.13 cmt. n.l(A)(ii). Although Locklear states that

he suffers from diabetes, hypertension, obesity, duodenitis, gastritis, acid reflux, knee problems, and

back pain, he has not demonstrated that he is not going to recover from these conditions or that they

cannot be treated while Locklear serves his sentence. Accordingly, reducing Locklear' s sentence is

notconsistentwithapplicationnote l(A). See 18U.S.C. § 3582(c)(l)(A).

     - As for the "other reasons" policy statement, the court assumes without deciding that the

COVID-19 pandemic, Locklear' s medical conditions, rehabilitation efforts, and his release plan are

extraordinary and compelling reasons under section 3582(c)(l)(A). Cf. United States v. Raia, 954

F.3d 594, 597 (3d Cir. 2020) ("[T]he mere existence of COVID-19 in society and the possibility that

it may spread to a particular prison alone cannot independently justify compassionate release,

especially considering BOP's statutory role, and its extensive and professional efforts to curtail the

virus's spread."). Even so, the section 3553(a) factors counsel against reducing Locklear' s sentence.

See High. 997 F.3d at 187-91; Kibble, 992 F.3d at 331-32; United States v. Cham.bliss, 948 F.3d

691, 693-94 (5th Cir. 2020); Clark, 2020 WL 18741:40, at *3-8.

       Locklear is 59 years old and engaged in serious criminal conduct from 2002 to 2017. See

PSR [D.E. 340] ft 25-80. Locklear led a large drug trafficking organization in Robeson County that

trafficked narcotics from Mexico. See id. ft 25, 27, 33. Locklear is accountable for 7,372 kilograms

of marijuana and 77 kilograms of cocaine. See id. ,r 80. Locklear possessed dozens of firearms,

including assault rifles with high capacity magazines, in connection-with his drug trafficking
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activities. See id. ,r,r 49, 80. Locklear is a violent recidivist with convictions for assault on a female,

maintaining a vehicle, dwelling, or place for controlled substances, possession of marijuana, and

communicating threats (two counts). See id. ,r,[ 85-88. Nonetheless, Locklear has taken some

positive steps while incarcerated and has a supportive family. See [D.E. 669] 9; [D.E. 669-1] 3-4;

[D.E. 685] 16, 18-19; [D.E. 685-3]; [D.E. 685-4]; [D.E. 685-5]; [D.E. 699] 2.

        The court has considered Locklear's exposure to COVID-19, his medical conditions, his

rehabilitation efforts, and his release plan. Cf. Ptmper v. United States, 562 U.S. 476, 48~1

(2011); High. 997 F.3d at 187-91; United States v. McDonald, 986 F.3d 402,412 (4th Cir. 2021);

United States v. Martin, 916 F.3d 389, 398 (4th Cir. 2019). Having considered the entire record, ~e

steps that the BOP has taken to address COVID-19 and to treat Locklear, the sectio:p. 3553(a) factors,
                     '                                                                  '   '


Locklear' s arguments, the government's persuasive response, and the need to punish Locklear for

his serious crimjnal behavior, to incapacitate Locklear, to promote respect for the law, to deter

others, and to protect society, the court denies Locklear' s motion for compassionate release. See,

~-Chavez-Meza v. United States, 138 S. Ct. 1959, 1966-68 (2018); High, 997 F.3d at 187-91; ·

Ru.ffuL978F.3dat1008-09;Chambliss,948F.3dat693-94;UnitedStatesv.Hill,No.4:13-CR-28-
                                                          ,

B~ 2020 WL 205515, at *2 (E.D.N.C. Jan. 13, 2020) (unpublished), aff'd, 809 F. App'x 161 (4th

Cir. 2020) (per curiam) (unpublished).

        As for Locklear's request for home confinement, Locklear seeks reliefunder the CARES, Act.

See [D.E. 685]. The CARES Act does not provide this court with the authority to grant home

confinement. See United States v. Brummett, No. 20-5626, 2020 WL 5525871, at •2 (6th Cir. Aug.
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19, 2020) (unpublished) ("[T]he authority to grant home confinement remains solely with the

AttomeyGeneraland the BOP.~'); United States v. McCoy. No. 3:19-CR-35-K.DB-DC~ 2020 WL

5535020, at *l (W.D.N.C. Sept. 15, 2020) (unpublished); United States v. Gray, No.

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4:12-CR-S4-FL-1, 2020 WL 1943476, at *3 (E.D.N.C. Apr. 22, 2020) (unpublj.shed). Thus, the

court dismisses Locklear' s request for home confinement.
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                                              m.
       In sum, the court DISMISSES Locklear's section 225S motion [D.E. S61], DENIES a

certificate of appealability, DENIES Locklear's motion for compassionate release [D.E. 669], and

DISMISSES Locklear's request for home confinement.

       SO ORDERED. This~ day of October, 2021.



                                                       J~s~tiwlm
                                                       United States District Judge




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